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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


UNITED STATES OF AMERICA                         :       CRIMINAL NO. 2:24-cr-00221


VERSUS                                           :       JUDGE JAMES D. CAIN, JR.


SAUL AUGUSTINE VELIS-CARRILLO                    :       MAGISTRATE JUDGE LEBLANC


                REPORT AND RECOMMENDATION ON FELONY
           GUILTY PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge on January 6, 2025, at

which time the defendant expressed a desire to waive his right to plead guilty before a District

Judge and enter into a plea before the U. S. Magistrate Judge. Defendant indicated on the record

his desire to consent to proceed before the undersigned and executed a waiver. Defendant was at

all times represented by counsel, John Mario Piccione.

       After said hearing and for reasons orally assigned, it is the finding of the undersigned that

the defendant is fully competent, that his plea of guilty is knowing and voluntary, that his guilty

plea to Count One of the Indictment is fully supported by the written factual basis acknowledged

by defendant orally in court and by his signature on the written document. This factual basis

supports each essential element of the offense to which the defendant pled.




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       Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

ACCEPT the guilty plea of the defendant, SAUL AUGUSTINE VELIS-CARRILLO, and that he

be finally adjudged guilty of the offense charged in Count One of the Indictment.

       Sentencing is set for April 3, 2025, at 10:00 a.m., before the Honorable James David Cain,

Jr. in Lake Charles, Louisiana. Defendant’s presentencing memorandum is due 14 days before the

sentencing hearing, and any response by the government is due 7 days thereafter. Defendant is to

remain in the custody of the U.S. Marshal pending sentencing.

       THUS DONE AND SIGNED in Chambers this 6th day of January, 2025.




                          ___________________________________
                                 THOMAS P. LEBLANC
                         UNITED STATES MAGISTRATE JUDGE




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